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                     EXHIBIT 
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  From:               Julie Fink
  To:                 James Kolenich; Elmer Woodard
  Cc:                 Roberta Kaplan; Christopher Greene; Karen Dunn; Levine, Alan; Philip Bowman; Gabrielle Tenzer; Seguin
                      Strohmeier
  Subject:            RE: Sines et al. v. Kessler et al.
  Date:               Tuesday, March 13, 2018 11:17:06 PM
  Attachments:        Parrott - 3-13-18.pdf


  Messrs. Kolenich and Woodard,

  In the attached message posted to Gab, your client Matt Parrott states his intention to destroy
  documents and information directly relevant to Plaintiffs’ claims against him and TWP, in violation of
  both of their legal obligations. Specifically, he writes: "All of the information systems are completely
  air-gapped and will be destroyed within a few hours in order to guarantee all membership
  information literally no longer exists anywhere."

  Please confirm by 9am tomorrow morning that Mr. Parrott has not destroyed and will take steps to
  preserve any and all such documents and information, or we will seek immediate relief from the
  Court.




  Julie E. Fink | Kaplan & Company, LLP
  350 Fifth Avenue | Suite 7110
  New York, NY 10118
  (W) 212.763.0885 | (M) 646.856.6431
  jfink@kaplanandcompany.com



  From: James Kolenich [mailto:jek318@gmail.com]
  Sent: Monday, March 12, 2018 10:52 PM
  To: Seguin Strohmeier <sstrohmeier@kaplanandcompany.com>
  Cc: Elmer Woodard <isuecrooks@comcast.net>; Julie Fink <jfink@kaplanandcompany.com>;
  Roberta Kaplan <rkaplan@kaplanandcompany.com>; Christopher Greene
  <cgreene@kaplanandcompany.com>; Karen Dunn <KDunn@bsfllp.com>; Levine, Alan
  <alevine@cooley.com>
  Subject: Re: Sines et al. v. Kessler et al.

  Ms. Strohmeier:

   Thank you for your letter of March 9, 2018. Due to the press of other business my clients
  will be unable to respond to discovery by March 23. We can respond by April 6, 2018. In
  addition we decline your request to have each client provide written verification of their
  compliance with what is already a legal obligation.

  Respectfully,

  Jim Kolenich
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  On Fri, Mar 9, 2018 at 7:08 PM, Seguin Strohmeier <sstrohmeier@kaplanandcompany.com> wrote:

    Mssrs. Woodard and Kolenich:

    Please see the attached correspondence.

    _____

    Seguin L. Strohmeier
    Kaplan & Company, LLP
    350 Fifth Avenue, Suite 7110
    New York, NY 10118
    (929) 294-2531
    sstrohmeier@kaplanandcompany.com



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  --
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